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IN THE COURT OF THE NINTH
JUDICIAL CIRCUIT, IN AND FOR
OSCEOLA COUNTY, FLORIDA
CASE NO
LEE MILLER & RI'I`A M[LLER
Plaintiffs,
vs.
SlRAJ/SIRAAJ M`EHDI, BUDGET RENT A
CAR SYSTEM, INC., a foreign profit
corporation, & PV HOLD[NG COR.P ,
a foreign profit corporation,
Defendants.
/
COMPLAINT

The PlaintiB`s, LEE MILLER and RITA MILLER, sues the Defendants, SIRAJ/SIRAAJ
MEHDI, BUDGET RENT A CAR SYSTEM, INC., a foreign profit corporation (hereinafter

“BUDGET"), and PV HOLDING CORP., a` foreign profit corporation (hereinafter “PV

HOLDING”), and alleges:

l. This is an action for damages in excess of Fifteen Thousand Dollars ($15,000.00),
arising in Osceola County, Florida.

2 At all times material to this cause, Defendants, BUDGET and PV HOLD[NG are
foreign corporations authorized to do business in the State of Florida.

3. On or about December 'I'hirty-First, 'l`wo 'I`housand and Seven, upon information

and belief the Defendant, PV HOLDING, owned a vehicle leased to Defendant, BUDGET, and
with the express or implied consent of Defendant, BUDGET, Defendant, Sl`RAJ/SIRAAJ MEHDI,

operated such motor vehicle on SR 535 in Kissimmee, Osceola County, Florida

 

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4 Upon information and belief, at all times material to this cause, the Defendant,
SlRAJ/SIRAAJ MEHDI was a non-resident of Florida, providing a Canadian driver’s license to
the police officer at the scene of the crash; therefore, he accepted the privileges extended by
Florida law of operating a motor vehicle within Florida and thereby constituted the Secretary of
State of Plorida as the Defendant, SlRAJ/SIRAAJ MEHDI’S agent for the service of process in
any civil action in Florida arising our of or by reason of any accident or collision occurring

within Florida in which the motor vehicle is involved

COUNT I AGAINST SIRAJ/SIRAAJ MEHDI

 

Plaintiff, LEE MILLER, re-alleges paragraphs l-4 and adopts paragraphs 17-21,

and further says as follows.

5 At that time and place, Defendant, SIRAJ/SIRAAJ MEHDI, negligently operated

the subject vehicle causing a rear-end collision involving the Plaintiff, LEE MlLLER who had

stopped due to traffic ahead.

6. As a direct and proximate result of the negligence of the Defendant,

SlRAJ/SIRAAJ MEHDI, the Plaintiff, LEE MILLER has suffered damages as more fully set

forth below
COUNT ll AGAINST BUDGET

Plaintiff, LEE MlLLER, re-alleges paragraphs l~6 and adopts paragraphs l7-21,

and further says as follows

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7 Upon information and belief, at all times material to this cause, Defendant,
SIRAJ/SIR.AAJ MEHDI was given express or implied consent to operate the subject motor
vehicle owned by Defendant, BUDGET 'I`herefore Def`endant, BUDGET, is vicariously liable

under the doctrine of “dangerous instrumentality”

8 As a direct and proximate result of the negligence of the Defendant,
SIRAJ/SIRAAJ MEHDI, the Plaintiff, LEE MILLER has suffered damages as more fully set

forth below for which the Defendant, BUDGET, is vicariously liable under the doctrine of

“dangerous instrumentality”

COUNT III AGAINST PV HOLDING
Plairitiff, LEE MILLER, re~alleges paragraphs 1-6 and adopts paragraphs 17-21,

and further says as follows

9. Upon information and belief`, at all times material to this cause, Defendant,
SlRAJ/SIRAAJ MEHDI was given express or implied consent to operate the subject motor
vehicle owned by Defendant, PV HOLDING Therefore Defendant, PV HOLDlNG, is
vicariously liable under the doctrine of “dangerous instrumentality”

lO As a direct and proximate result of the negligence of the Defendant,
SIRAJ/SIR.AAJ MEHDI, the Plaintiff, LEE MILLER has suffered damages as more fully set

forth below for which the Defendant, PV HOLDlNG, is vicariously liable under the doctrine of

“dangerous instrumentality”.

COUNT IV AGAINST SIRAJ/SIRAAJ MEHDI
Plaintif`f, RITA MILLER, re~alleges paragraphs 1-4 and adopts paragraphs 17~21,

and further says as follows'

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l l At that time and place, Defendant, SIRAJ/SIRAAJ MEHDI, negligently operated

the subject vehicle causing a rear-end collision involving the Plaintiff, RITA MILLER who had

stopped due to traffic ahead.

12. As a direct and proximate result of the negligence of the Defendant,

SlRAJ/SI`RAAJ MEHDI, the Plaintiff, RITA MILLER has suffered damages as more fully set

forth below.
COUNT V AG AINS'I` BUDGET

Plaintiff, RITA MILLER, re-alleges paragraphs l-4, 11-12 and adopts paragraphs

17-21, and further says as follows:

13. Upon information and belief, at all times material to this cause, Defendant,
SlRAJ/SIRAAJ MEHDI was given express or implied consent to operate the subject motor
vehicle owned by Defendant, BUDGET Therefore Defendant, BUDGET, is vicariously liable

under the doctrine of “dangerous instrumentality"

l4. As a direct and proximate result of the negligence of the Defendant,
SIRAJ/SIRAAJ MEHDI, the Plaintiff, RITA MILLER has suffered damages as more fully set

forth below for which the Defendant, BUDGET, is vicariously liable under the doctrine of

“dangerous instrumentality”.

COUNT VI AGAINST PV HOLDING
Plaintiff, RITA MILLER, re~alleges paragraphs 1-4, 11~12 and adopts paragraphs

17-21, and further says as follows

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15 Upon information and belief, at all times material to this cause, Defendant,
SIRAJ/SIRAAJ MEHDI was given express or implied consent to operate the subject motor
vehicle owned by Defendant, PV HOLDING. Therefore Defendant, PV HOLDING, is
vicariously liable under the doctrine of “dangerous instrumentality”

16. As a direct and proximate result of the negligence of the Defendant,
SIRAJ/SIR.AAJ MEHDI, the Plaintif`f, RITA MILLER has suffered damages as more fully set
forth below for which the Defendant, PV HOLDING is vicariously liable under the doctrine of
“dangerous instrumentality”.

DAMAGES

17. As a direct and proximate result of the above-mentioned accident, the Plaintiff,
LEE MILLER, has suffered permanent bodily injury which resulted in pain and suffering,
disability, disfigurement, mental anguish, loss of capacity for the enjoyment of life, expense of
hospitalization, medical and nursing care and treatment, loss of earnings, loss of the ability to
earn money, and the aggravation of a previously existing condition, if any These losses are
either permanent or continuing within a reasonable degree of medical probability, the Plaintiff,
LEE MILLER, will continue to suffer these losses in the future

18 As a direct and proximate result of the above-mentioned accident, the Plaintiff,
RITA MILLE,R, has suffered permanent bodily injury which resulted in pain and suffering,
disability, disfigurement, mental anguish, loss of capacity for the enjoyment of life, expense of
hospitalization, medical and nursing care and treatment, loss of eamings, loss of the ability to

earn money, and the aggravation of a previously existing condition, if any These losses are

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either permanent or continuing within a reasonable degree of medical probability, the Plaintif`f,

RITA MILLER, will continue to suffer these losses iri the future

19 As a direct and proximate result of the above-mentioned accident, the Plaintiff,
RlTA MILLER, the spouse of Plaintiff, LEE MILLER, has lost the companionship and services
of her husband, her com fort and happiness in her society with her husband has been impaired,
she had endured undue inconvenience and hardship for an indeterminable period of time to fiilfill
the needs and requirements of her husband, and it appears that such deprivations and

impairments will continue in the future

20 As a direct and proximate result of the above-mentioned accident, the Plaintiff,
LEE MTLLER, the spouse of Plaintiff, RI'I`A MILLER, has lost the companionship and services
of his wife, his comfort and happiness in his society with his wife has been impaired, he had
endured undue inconvenience and hardship for an indeterminable period of time to fulfill the

needs and requirements of his wife, and it appears that such deprivations and impairments will

continue in the future.

21 Plaintiff‘s automobile was damaged and the Plaintiffs lost the use of it during the

period required for its repair or replacement.

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WHEREFORE, the Plaintiffs, LEE MILLER & RITA MILLER, demand judgment
against the Defendants, SlRAJ/SIRAAJ MEHDI, BUDGET R.ENT A CAR SYS'I`EM INC , a
foreign profit corporation, and PV HOLDING CORP , a foreign profit corporation, for
compensatory damages in excess of Fifieen Thousand Dollars (315,000 OO) exclusive of costs and
interest together with costs and prejudgment interest for that portion of the compensatory damages
which have been previously liquidated, and any other relief to which the Plaintiffs, LEE MILLER
& RITA MILLER may be entitled and the Plaintiffs demand a trial by jury of all issues so triable.

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Dated this 6th day of December, 201 l

    
 

   

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Attomey for PlaintiH`

